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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHANTAE M. WYATT, et al.                             :          CIVIL ACTION
                                                     :
             v.                                      :
                                                     :
BIOTEK REMEDIES, INC, et al.                         :          NO. 19-6069

                                              ORDER

        AND NOW, this 24th day of September 2024, after extensive mediation overseen by the

court with the participation of all necessary parties, and the parties reporting that they have

settled the pending matter of attorney’s fees, it is hereby ORDERED that the Motion for

Attorney’s Fees (Document No. 128) is DENIED as moot.

        The Clerk of Court shall close this case for statistical purposes, however, the court

specifically retains jurisdiction over the question of fees, until all terms of the parties’ agreement

concerning attorney’s fees are satisfied.

IT IS SO ORDERED.
                                               BY THE COURT:




                                                 /s/ Carol Sandra Moore Wells
                                                CAROL SANDRA MOORE WELLS
                                                United States Magistrate Judge
